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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


JOHN PAPI, et al.,                     )
                                       )
      Plaintiffs,                      )
                                       )
                    v.                 )   2:16-cv-00560-JDL
                                       )
TOWN OF GORHAM, et al.,                )
                                       )
      Defendants.                      )

   ORDER ON PLAINTIFF’S MOTION FOR LEAVE TO FILE AMENDED
                         COMPLAINT

      John Papi and his limited liability company, John J. Papi, LLC, (collectively

“Papi”) filed a seven-count Complaint against the Town of Gorham (“the Town”) and

several of its officials relating to the Town’s enforcement of its solid waste removal

licensing ordinance. See ECF No. 1. Papi now moves to amend the Complaint. ECF

No. 19. For the following reasons, that motion is denied.

                            I. PROCEDURAL HISTORY

      On April 20, 2017, I entered an order granting the Defendants’ Partial Motion

to Dismiss (ECF No. 5). ECF No. 14. That order dismissed Counts I through VI of

the Complaint, as well as Count VII against Defendants Town of Gorham Town

Council, Ronald Shepard, and Daniel Jones. Id. at 10. Papi’s claim in Count VII

against the Town, the Town of Gorham Town Clerk, and David Cole was left as the

only remaining claim. Id.

      Papi’s dispute with the Town over the solid waste licensing ordinance was the

subject of a previous case in the Cumberland County Superior Court (Wheeler, J.),
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which arose from a citation issued to Papi for hauling waste without a license in

violation of the ordinance. Town of Gorham v. Papi, No. VI-14-001, 2015 WL 1757015

(Me. Super. Mar. 27, 2015). Papi contested the citation, claiming that the Town

violated his Constitutional rights by selectively enforcing the ordinance against him

even though it was not enforced against other waste haulers operating in the town.

Because the Superior Court determined that Papi failed to prove that he was

selectively prosecuted for violating the ordinance, I concluded that Papi was barred

by the principle of collateral estoppel from asserting Counts I through VI in federal

court and ordered the dismissal of those counts. See ECF No. 14 at 6-9. Count VII,

the only remaining count in the Complaint, alleged a violation of Maine Rule of Civil

Procedure 80B stemming from the alleged failure of the Town Clerk to issue a solid

waste removal license to Papi, despite Papi’s payment of the licensing fee. See ECF

No. 1 at 16.

      I subsequently met with counsel to address whether the Court should exercise

supplemental federal jurisdiction over Count VII, given that it arose under state law,

and in view of the order dismissing all of Papi’s federal claims. See 28 U.S.C.A. §

1367 (2017). At the conference, Papi’s counsel expressed Papi’s desire to file an

amended complaint in order to assert federal claims arising from the Town’s alleged

failure to issue the solid waste removal license that is the basis of Count VII. I

requested Papi’s counsel to file a motion for leave to amend in order to assert the new

federal claims. Papi subsequently moved for leave to amend, ECF No. 19, and the

Defendants objected, ECF No. 24.



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                                  II. DISCUSSION


A.    Legal Standard

      After the time for amendments as a matter of course has passed, a party may

amend its pleading with leave of the court, which should be freely given “when justice

so requires.” Fed. R. Civ. P. 15(a)(2). Accordingly, leave to amend should be granted

where there is no “undue delay, bad faith or dilatory motive on the part of the movant,

repeated failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the amendment, [or] futility.”

Foman v. Davis, 371 U.S. 178, 182 (1962); see also Chiang v. Skeirik, 582 F.3d 238,

244 (1st Cir. 2009). If leave to amend is sought before discovery is complete and

neither party has moved for summary judgment, a proposed amendment will be

denied if the amendment fails to state a claim and is, therefore, futile. See Hatch v.

Dept. for Children, Youth and Their Families, 274 F.3d 12, 19 (1st Cir. 2001).

“Futility” is gauged by the criteria of Federal Rule of Civil Procedure 12(b)(6)

governing motions to dismiss for failure to state a claim. Id. A proposed amended

complaint therefore “must contain sufficient factual matter to state a claim to relief

that is plausible on its face.” Saldivar v. Racine, 818 F.3d 14, 18 (1st Cir. 2016)

(quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)) (internal quotation marks and

alterations omitted).

B.    The Proposed Amendment

      Papi’s Proposed Amended Complaint seeks to re-assert all seven counts in the

original complaint by alleging “additional facts to clarify that the complained of

actions by the Defendants occurred prior to and subsequent to the state court’s
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decision in Town of Gorham v. John Papi.” ECF No. 19 at 4. Papi claims that the

amendments makes “clear, that [the] state court neither had before it, nor decided all

of the allegations raised in the amended Complaint.” Id. at 5. Papi further argues

that the amended Complaint asserts a claim for selective licensing of solid waste

haulers, which should be understood as distinct from the selective enforcement of the

licensing ordinance.

      Papi’s first argument misapprehends the basis for the Court’s order of

dismissal. The doctrine of collateral estoppel, otherwise known as issue preclusion,

does not require that all of the claims raised by a later suit were determined by the

prior judgment. 13C Charles Alan Wright & Arthur R. Miller, et al., Federal Practice

and Procedure § 4416 (3d ed. 2017 Update); see also Southern Pac. R. Co. v. United

States, 168 U.S. 1, 48-49 (1897) (“[E]ven if the second suit is for a different cause of

action, the right, question, or fact once so determined must . . . be taken as

conclusively established.”). Collateral estoppel instead deals with the preclusive

determination of factual matters.       “Issue preclusion reflects the fundamental

principle that courts should not revisit factual matters that a party previously

litigated and another court actually decided.” Miller v. Nichols, 586 F.3d 53, 60 (1st

Cir. 2009). Because the Superior Court’s judgment determined that the Town did not

engage in selective enforcement and had a rational basis for enforcing the licensing

ordinance against Papi, Papi is estopped from asserting any claim that requires him

to prove that the Town acted without a rational basis, regardless of whether that

specific claim was before the Superior Court. See ECF No. 14 at 7-9. Papi had his

day in court, and thus had an opportunity to prove that the ordinance had been

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selectively enforced against him. Because he failed to prove selective enforcement in

state court, collateral estoppel prevents trying the case a second time in federal court.

      Moreover, the fact that some of the allegations set forth in the Proposed

Amended Complaint relate to events that took place after the date of the Superior

Court judgment does not save Papi’s Proposed Amended Complaint. There is no

allegation that the Defendants have changed their conduct in any way; Papi asserts

that they continue to require him to have a license while not requiring other haulers

to have a license, just as he claimed they did before the state case was brought against

him. The allegation of continuing conduct does not give rise to a new claim. The

Superior Court determined that the Defendants’ actions were constitutional. The fact

that the Defendants continued to act in the same way after the Superior Court’s

decision therefore cannot give rise to a claim for a constitutional violation.

      Papi further argues that the Superior Court did not address the argument he

seeks to make in support of his Amended Complaint, namely that the Town is

engaging in selective administration of the licensing scheme at the level of the town

clerk’s office, rather than selective enforcement of the licensing ordinance. Papi

asserts that selective administration is different from the selective enforcement that

was at issue in the state case because enforcement requires the exercise of discretion,

while administration of the ordinance by the town clerk’s office does not allow for the

exercise of any discretion. Specifically, Papi asserts that the town clerk’s office does

not have the discretion to allow some haulers to operate without a license, but that it

is nonetheless permitting some haulers to do so.



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      Papi’s proposed distinction between “selective administration” or “selective

licensing,” on the one hand, and “selective enforcement,” on the other, rests on a false

distinction between requiring haulers to have a license under the ordinance, and

enforcing the ordinance against those who do not have a license. As discussed in my

previous order in this case, those are one and the same thing. See ECF No. 14 at 8

(“The Town’s ordinance compels unlicensed waste haulers to obtain a license with the

threat of enforcement citations, like the one Papi received. Thus, the selective

administration of the licensing scheme and the selective prosecution of enforcement

citations are one and the same.”). The town clerk’s office cannot compel haulers to

obtain a license, or authorize some haulers to operate without one. The clerk’s office

is responsible for issuing licenses to those who apply for them; it is not responsible

for forcing people to apply for a license in the first place. The threat of an enforcement

citation is what compels haulers to apply for and obtain a license.

      Papi’s claim of “selective administration” was therefore considered and

rejected by the Superior Court when it considered and rejected his arguments

regarding selective enforcement. Papi presented evidence that not all waste haulers

in the Town had the required license, but that they were nonetheless not issued

citations. See Town of Gorham v. Papi, No. VI-14-001, 2015 WL 1757015, at *3 (“Papi

established that there are other haulers that are not licensed.”). Moreover, the court

recognized that “Papi simply wants the court to level the playing field and to make

the community business friendly for competition.”            Id.   The Superior Court

nonetheless determined that no Constitutional violation had occurred. Id. Papi has

already made his arguments both that the Town unfairly targeted him, and unfairly

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failed to target others. The Superior Court heard and decided those allegations, and

its decision must be respected by this Court under sound jurisprudential principles.

       Thus, Papi’s Proposed Amended Complaint does not cure the defect contained

in his original Complaint, and his Proposed Amended Complaint is futile.

C.     Count VII

       Count VII asserts that Papi was not issued a license despite paying the

required fee. Papi’s counsel confirmed at oral argument, however, that Papi had in

fact been issued a license before the filing of the proposed amended complaint,

although counsel was unsure whether the license was in effect as of the date of

argument. It is therefore not clear that a factual basis for this claim exists.

       Moreover, Count VII in the Proposed Amended Complaint is identical to Count

VII in the original Complaint, and does not present an independent basis for the

exercise of federal jurisdiction. Compare ECF No. 1 at 16 with ECF No. 19-2 at 18.

Accordingly, it will be dismissed without prejudice so that Papi may pursue the claim

in state court if he chooses. See Eves v. LePage, 842 F.3d 133, 146 (1st Cir. 2016) (“A

district court may decline to exercise supplemental jurisdiction if the court has

dismissed all claims over which it has original jurisdiction.”) (internal quotation

marks omitted); see also United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726

(1966) (noting that supplemental jurisdiction is “a doctrine of discretion, not of

plaintiff’s right”).




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                             III. CONCLUSION

      For the foregoing reasons, Papi’s Motion for Leave to Amend the Complaint

(ECF No. 19) is DENIED. Furthermore, Count VII of the Complaint is DISMISSED

without prejudice.



      SO ORDERED.

      Dated this 14th day of August 2017


                                                   /s/ JON D. LEVY
                                                U.S. DISTRICT JUDGE




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